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3. MAG. DKT./DEF. NUMBER 4. DIST. DKT.»'DEF. NUMBER S. APPEALS DKT.!DEF, NUMBER

2104_0203 12-001~/;1,€

6. OTI{ER DK'l`. NUMBER

 

 

 

 

 

 

    

 

  

 

7. IN CASEI'MAT'I'ER OF lCase Nanle) 8. PAYMENT CATEGORY 9. TYPE PERSON REPRF.SENTED ID. REP§{E`SE§TA;I'ION TYPE
I`lS I'Ll€ nl'lS

U.S. v. Rultln Felony Adult Defcndam Crlmina] Case
11. OFFENSE(S) CHARGED (Cite U.S. Code, 'l'ille & Sel:lion) ll'more than one nll`euse, list (up to nut major ollel\ses charged. according to severity ol' offense 631 ji:'

1) 26 5861<3.F -- UNLAWFUL TO ALTER OR CHANGE sERIAL NUMBER m ¢(»‘/ §

§\ c:.‘.- t.,
12. A'I'I`ORNEY'S NAME {First Nanle, M.l., Last Name, including any sul`Exj 13. COURT ORDER '; ' ry -'"~
lmo MAILtNG ADDRESS m 0 App.,amin¢ counsel m c common €;/ \

SChl`Cl.nCl", S[Cff€['l G. l:] F Sul)s For Federal Del'el\der f;l R Suhs For Retain{€}\t¢lpr]te'y ' w

369 N Main \:] P Suhs For il’anell»\tt.or'ue_',l |:| ¥ Standby Cnunsel"\ ` _ ' 7

Memphis TN 38103 Prlor Attorney's Name: § "

A,,_"" ‘Date: `L';_C_ w
it

Telephone Nulnber»; 901 527-5000

14. NAME AND MAIL|'NG ADDRESS OF LAW FlRM ton|y provide perinslruetions)

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Siglmture ofPresiding Juditia| OlTlcer o
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Date nl’ Order

 

 

 

|:l Because the above-named person represented has testified under oth o rf
otherwise satislled this court that lie or she th ls linam:ially unable to employ § ’
(2} does not wish to wa|ve counsel, and because the ince is o[justice so requim\ , `
attorney whose name appears in ltem 12 is appoil
flr

r y Order nl` the Court

Rep\yment or partial repayment ordered from the person represented l'or this service al
0

   

to represent this person in wisf£¢.

 
  
 

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Nunc Pro T\ulc Dale

 

 

  

time ofappolntmeot. |:l YES l:! N

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  

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- HOURS AI)DITIONAL
CATEGOR|ES (Attach ltemizahon of services with dates) CLA|MED é\ll!lAQMUPélg Al}_.ll(l)llSJL'F§D AD H§I'R`E,II_) REV[EW
15. a.Arraignment and/or Plea “’ ` “` '
b. Bail and Detention llearings "
c. Motion Hearings
l .
n d. Trlai
C e. Sentencing Hearings
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“ f. Revocatlon Hearmgs
f g. Appeals Court
h. Other (Specit’y on additional sheets)
(Rate per hour= $ ) TOTALS:
to. a. Interviens and Conferences :”e;:\
no b. ()btaining and reviewing records
0 c. Legal research and brief writing
2 d. Travel time
3 e. Investigatlve and Other work ¢sp¢¢\ry on miami nunn
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' mate per hour = s ) 'roTALs:
17. Travel Expcnses (lodglng, parldng. meals, mileage, etc.)
Other Expenses (other than expert transcripts, etc ) ,.

 

  

 

 

   

 

     

  

 

 

 

 

 

 

 

 

 

 

 

19. CERT[F|CAT`ION OF A'I'I‘()RNEYJ'PAYEE FOR THE PERIOI) OF SERVICE 20. APPOINTMENT TERMINAT|ON DATE Zl. CASE DISPOS|TION

 

 

 

 

IF ll N CAS COMPLETION

FnoM To °“‘E m E

22. CLAIM STATUS l:l Flnal Payment l:\ Interin\ Paymean Number __ {:l Suppiemenlal Payment
Have you previously applied to the court for compensation andfor remlmhurselnent for this case'.’ l:l YES |:l NO [fyes. were you paid'.' l:l YES [:l NO
Other than l'ron\ the court, have yo\t, or to your knowledge has anyone else. received payment toompensatiun or anything or value) from any other source in connection with this
representation'.' I] YES i;'_l N() ll`yes. give details on additional sheets.

I swear or affirm the truth or correctness of the above statements

Slgnature antlorne_y:

 

  

. IN COURT COMP.

  

 

  
  
 

 

25. TRAVEL EXPENSES

26. UTHER EXPENSES 2'.'. TO'|'AL AMT. APFR)'CERT

 

 

 

 

 

 

24. OUT OF COURT COMP.
28. SIGNATURE OF THE PRES[I)[NG JUDIC[AL OFFICER DATE ZSa. .lUDGE/MAG. _|'UDGE CODE
29. IN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. O'I`HER EXPENSES 33. ‘I`OTAL AMT. APl-'ROVED
34. §£(EFIEVAMEE)£F°FRI§:MIH£&ESE“%I£§LQLF APPEALS (()R DELEGATE) Payment DATE. 343. JUDGE C()DE

 

 

 

 

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with Ftu|e 55 andfor 32(b) FRCrP on ' "

   

UNITED sTATE DISTRIC COUR - WTER D'S'TRCT OFTENNESSEE

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Ste. 800

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Honorable J on McCalla
US DISTRICT COURT

